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IN THE UNITED STATES DISTRICT CO Ocr 3 NS45
FOR THE WESTERN DISTRICT OF ARKANS§BIS p 20n
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DAVID STEBBINS PLAINAJEF ON, Clery
Crk "
vs CASE NO. 11-3057
LEGAL AID OF ARKANSAS DEFENDANTS

MOTION FOR LEAVE TO FILE AMENDED COMPLAINT
AND AMENDED COMPLAINT

Comes now, pro se Plaintiff David Stebbins, who hereby submits the following motion
for leave to file an additional amended complaint. As I have already filed one, already, I must
seek leave of Court to file another one.

In the event that the motion is granted, this document will also serve as the amended
complaint itself. As a pro se Plaintiff, I am excused from the requirement to file a separate
amended pleading. See Local Rule 5.5(e). I will take advantage of that rule.

There is a new injury that the Defendants' continued discrimination and retaliation has
proximately caused me. As the original pleading shows, I was engaged in a legal dispute against
my now former landlord, Harp & Associates Real Estate Services, LLC. This legal dispute has
evolved into a legal feud, resulting in many cases being filed.

I have recently filed an abuse of process claim against Harp & Associates, seeking
compensation and restitution for a rather cheap trick they pulled in their recent unlawful detainer
case against me. The damages in that case were $554,000 in compensatory damages, and
$5,540,000 in punitive damages.

However, because Legal Aid has pledged to not represent me because of this
discrimination and retaliation, and because no other attorney in the state within reasonable

traveling distance from Harrison has the resources in this economy to take a case on contingency,
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Ihave been forced to once again represent myself pro se in this case, causing my chances of
losing to skyrocket.
This new injury was not present when I first filed the claim, nor when I filed my first
amended pleading. Therefore, it is reasonable that I would not include it until now.
I wish to amend my pleading to include a request for the following relief:
1. The damages from the abuse of process claim, if I loose it due to ineffective assistance of
counsel, or if I can prove that I am reasonably likely to do so.
2. Ten times those damages, in punitive damages.
3. Any further currently-unforeseen injuries that I sustain as a result of this discrimination

and retaliation claim.

Wherefore, premises considered, I request that the above-stated relief also be given to me.

Pik! Vitiye

David Stebbins

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